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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



  DR. SHIVA AYYADURAI,

                         Plaintiff,

                            v.                         CIVIL ACTION
                                                       NO. 1:20-cv-12080-MLW
  WILLIAM FRANCIS GALVIN, in his official
  capacity as the Secretary of the Commonwealth
  of Massachusetts, and CHARLES D. BAKER, in
  his official capacity as Governor of Massachusetts

                         Defendants.



   DEFENDANTS’ OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
       ORDERING DECERTIFICATION OF THE 2020 U.S. SENATE RACE



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                                        INTRODUCTION

       Massachusetts conducts safe, fair, transparent, and free elections. All voters who cast

valid ballots have their votes publicly counted, and every vote counts equally. After all votes are

counted, winners are declared. The machines that are used to count these votes are all publicly

tested before the election, and election results are audited afterward. As an added check, state

law affords any candidate the ability to seek a recount or to notice a ballot contest within a

defined timeframe. This entire process exists not only to ensure accuracy in election results but

also to secure the public’s faith in the Commonwealth’s election system. “One person, one vote”

is not an empty shibboleth for the officials, including the Defendants, charged with conducting

elections in Massachusetts; it is the bedrock of republican governance. All votes count. All

votes count equally. Whoever has the most votes wins the election. This is how elections work

in the Commonwealth and how democracy works across the country.

       Plaintiff Shiva Ayyadurai comes to this Court peddling dangerously anti-democratic and

evidence-free conspiracy theories to deny the reality that he lost two elections fair-and-square –

his party’s nomination for United States Senate and the general election as a write-in candidate.

His ask of this Court is breathtaking: to disenfranchise the 3.6 million Massachusetts voters who

participated in two elections amidst a global pandemic, to temporarily strip Massachusetts of half

its representation in the United States Senate, to re-count all votes from two elections conducted

months ago, and to have two new elections held. This motion seeks to subvert the will of the

voters while sowing baseless doubts in the electoral system. He makes this request even though

he twice chose not to seek a recount or notice a ballot contest under state law.

       The Court should deny Plaintiff’s request because it is entirely without legal support or


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factual basis, relying only on incendiary and baseless personal attacks, pseudoscientific

nonsense, and chatroom conspiracies that have been debunked and rejected by Courts across

America in the wake of the 2020 election cycle. Specifically, this motion for preliminary

injunctive relief should be rejected because: (1) Plaintiff lacks standing to assert a claim for vote

dilution; (2) Plaintiff’s request is moot because the election results have now been certified; (3)

Plaintiff’s claim is barred by the Eleventh Amendment; (4) Plaintiff’s equitable claim is barred

by the doctrine of laches; (5) Plaintiff’s fact-free claim about vote manipulation and ballot

destruction is wrong; and (6) the balance of equities tips in the Commonwealth’s favor because

Plaintiff delayed in bringing this claim, even though he had mechanisms available to him under

state law to seek a recount and because Plaintiff’s motion seeks to subvert the voters’ choice.

       The First Circuit long ago cautioned federal courts to avoid meddling in the “machinery”

of vote counting by the state by getting involved with such disputes. See Griffin v. Burns, 570

F.2d 1065, 1077 (1st Cir. 1978). This case – and the tragic events of recent days by vote-deniers

– proves the wisdom of that advice. This Court should not silence the will of the voters based on

nothing more than untimely conspiracy theories and uninformed junk science, just as Courts

across the country have uniformly rejected similar baseless suits by dissatisfied candidates and

voters in the wake of the 2020 elections. Plaintiff’s motion should be denied.

                                  FACTUAL BACKGROUND

Plaintiff’s Allegations

       Plaintiff ran unsuccessfully for the Republican party’s nomination for U.S. Senate in the

September 1, 2020 Massachusetts primary election. Amended Complaint (hereinafter “Am.

Cplt.”), pp. 20-21. Following his loss in the primary election, which Plaintiff alleges was

contrary to his internal polling that showed him leading in all counties in the Commonwealth,

Plaintiff’s campaign submitted public records requests in various cities and towns across the


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Commonwealth seeking the list of voters who participated in the primary in each of those cities

and towns. Id. Plaintiff alleges that in all of the seven cities/towns that provided data in

response to his campaign’s request, the number of tabulated votes exceeded the number of voters

shown to have voted. Id. Based on his alleged engineering and mathematical expertise – and

without any admissible evidentiary support – Plaintiff allegedly determined that his votes had

been multiplied by a factor of approximately 0.666, and his opponent’s votes had been multiplied

by a factor of approximately 1.22. Am. Cplt., p. 28; Plaintiff’s Memorandum of Law in Support

of a Motion for Preliminary Injunction Ordering Decertification of the 2020 U.S. Senate Race

(hereinafter “Pl. Memo.”), pp. 2-3. He alleges that this “weighting” of votes was done by

Secretary Galvin with malign intent and under the influence of a cast of characters ranging from

two individuals who worked for various non-profit organizations to Mark Zuckerberg, creator of

Facebook, and his wife, Priscilla Chan. Am. Cplt., pp. 7-9; Pl. Memo., p. 11.

        He further alleges that the electronic tabulation equipment used by many municipalities

creates ballot images, but that the Secretary’s office has confirmed that it deleted those ballot

images in violation of federal law and “in order to block a quick and easy way to confirm the use

of computer algorithms.” Pl. Memo., p. 2. As a result, he alleges that the paper ballots from his

September 1, 2020 primary must be hand audited and re-counted, and he asks this court to de-

certify the results of the November 3, 2020 election (and, presumably, the September 1 primary)

and order that hand audit to proceed. Pl. Memo., p. 2. The reality, however, is far more simple

than Ayyadurai’s logical leaps and attempts at mathematical sleight of hand would suggest.

Voting Machines in Massachusetts Elections

       The admissible evidence in the preliminary record instead shows that every voter in

Massachusetts state and federal elections marks a paper ballot, whether by hand or by use of




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special adaptive equipment used by disabled voters, and those paper ballots are the official vote

cast by that voter. Affidavit of Michelle K. Tassinari (hereinafter “Tassinari Aff.”), ¶ 4. Paper

ballots are the official record of votes cast in Massachusetts elections, and they are stored by

municipalities for 22 months after a federal election in accordance with federal law. Id.

Municipalities in Massachusetts tabulate the votes recorded on those paper ballots in one of two

ways: by hand-counting, or by use of an electronic tabulator. Tassinari Aff., ¶ 5. No ballot

images are generated, and no weighted calculation function is used. Tassinari Aff., ¶¶ 6, 8, 9.

All properly-cast votes are counted and all votes are weighted equally. Tassinari Aff., ¶¶ 6, 9.

       Pursuant to state law, the Secretary’s office is charged with certifying equipment used in

Massachusetts elections, and only equipment so certified may be used. Mass. Gen. Laws. ch. 54,

§ 37; 950 CMR 50.00. In order to obtain certification by the Secretary’s office, equipment must

be submitted for an office demonstration and used successfully in two field tests. Tassinari Aff.,

¶ 6. During the office demonstration, staff from the Secretary’s Elections Division mark

multiple ballots, tally those votes by hand, deposit them into the tabulator, and then compare the

hand count to the machine count for accuracy and to ensure there are no anomalies. Id.

       Only four electronic tabulator machines are certified for use in Massachusetts elections:

two types of optical scanning machines (AccuVote and Optech), and two types of digital

scanning machines (ImageCast and DS200). Tassinari Aff., ¶ 7. Optical scanning machines are

not capable of making, storing, or transmitting images of ballots; they simply scan paper ballots

for marked vote indicators and tabulate those vote indicators. Id. Digital scanning machines

have the technological capability to make and store images, but the Secretary’s certification of

those machines for use in Massachusetts elections is conditioned upon those functions being

disabled. Id. With this functionality turned off, the digital scanners operated similarly to the




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optical scanners by reading the vote indicators marked on the paper ballot. Id. The Secretary’s

office confirmed with the vendors of those machines that the scanning functionality was disabled

for both the September 1 primary and the November 3 general election. Tassinari Aff., ¶ 8.

Therefore, no voting equipment used in Massachusetts creates or stores ballot images. Id.

Voting equipment used in Massachusetts elections must meet not only the Secretary’s

certifications standards but also federal standards, which are certified by an independent testing

lab, that require recording each vote precisely as indicated by the voter and producing an

accurate report of all votes cast, without “weighting” votes. Tassinari Aff., ¶ 9.

       By regulation, all voting machines used in Massachusetts elections are tested before

every election. Tassinari Aff., ¶ 10. The testing requires local election officials to mark at least

50 ballots for each precinct (in a primary, they must mark at least 50 ballots per party per

precinct), which must be hand counted and then deposited into the tabulator. Id. The results of

the hand count are then compared to the results of the machine count. Id. This testing process is

performed in public and notice is posted at least 3 days in advance. Id. If the testing process

reveals any problems, including tabulation errors or mechanical failures, the local election

officials must report those errors to the Secretary’s office. Id. No such reports were made to the

Secretary’s office for either the September 1 primary or the November 3 general election. Id.

2020 Post-Election Audit

       In addition to the testing and certification process for tabulators, the accuracy and

integrity of Massachusetts general election results are tested by a post-election audit as required

by Mass. Gen. Laws ch. 54, § 109A. This audit is performed by conducting a public, non-

computerized, random drawing to select 3% of precincts statewide to hand count ballots and

compare those results to the previously-calculated results. Id.; 2020 Post-Election Audit Report




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Narrative, http://sec.state.ma.us/ele/elepostelection/2020-Audit-Report-Narrative.pdf, November

23, 2020, p. 1. That drawing must occur within 48 hours of the close of polls on Election Day.

Id. This year, that drawing took place on November 5, 2020. 2020 Post-Election Audit Report

Narrative, p. 1; Tassinari Aff., ¶ 12. As required by law, the selected precincts hand counted

their ballots for offices of Electors for President and Vice President, Senator in Congress,

Representative in Congress, Senator in General Court, and Representative in General Court, as

well as one of the state-wide ballot questions. Id. A post-election audit report was published

containing the results of the audit. Id. Overall, the audit found that in 47 of the 66 audited

precincts, there was no change in the number of ballots cast; in the remaining precincts, the small

disparities found were attributed to tabulator jams and/or poll worker error. Id. at 2. Relevant to

Plaintiff’s claims, this year’s audit resulted in candidate Markey receiving an additional 81 votes,

candidate O’Connor receiving 28 fewer votes, and Plaintiff receiving 88 additional votes. Id.

The report noted that:

       The number of votes reported on Election Night as “All Others” was reduced by
       60 and the blank votes were reduced by 81. It is likely that write-in candidate
       SHIVA AYYADURAI gained additional votes during the audit that were on
       ballots not segregated by the tabulator because voters did not fill in the vote
       indicator next to the write-in space, and poll workers failed to categorize write-in
       votes for the candidate separately from “All Others.”

Id.

                                          ARGUMENT

I.     STANDARD OF REVIEW.

       The Court should deny the motion for injunctive relief because Plaintiff fails to carry his

substantial burden to demonstrate an entitlement to the “extraordinary and drastic remedy” he

seeks. Voice of the Arab World, Inc. v. MDTV Med. News Now, Inc., 645 F.3d 26, 32 (1st Cir.

2011) (noting that a “preliminary injunction is an ‘extraordinary and drastic remedy’”) (citation



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omitted). A preliminary injunction “is never awarded as of right.” Munaf v. Geren, 553 U.S.

674, 690 (2008). Plaintiff must establish that he is likely to succeed on the merits, that he is

likely to suffer irreparable harm in the absence of preliminary relief, that the balance of equities

tips in his favor, and that an injunction is in the public interest. See Díaz-Carrasquillo v. García-

Padilla, 750 F.3d 7, 10 (1st Cir. 2014) (outlining four elements for consideration of motion for

preliminary injunction). The last two factors “merge when the Government is the opposing

party.” Nken v. Holder, 556 U.S. 418, 435 (2009). Because Plaintiff cannot carry his substantial

burden to make a “clear showing,” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997), that he is

entitled to preliminary injunctive relief, his motion should be denied.

II.    PLAINTIFF IS UNLIKELY TO SUCCEED ON THE MERITS OF HIS CLAIM.

       A.      Plaintiff Lacks Standing to Bring a Vote Dilution Claim Under the Equal
               Protection Clause of the Fourteenth Amendment.

       Plaintiff’s amended complaint asserts a claim under the Fourteenth Amendment’s Equal

Protection Clause, claiming that the method by which the state counted ballots violated the

Constitution’s principle of one person, one vote.1 But Plaintiff’s arguments that his votes were

weighted or otherwise destroyed, thus diluting the influence of these votes, does not vest him

with standing to press this claim in federal court because the remedy he seeks would not redress

his alleged injury but would needlessly disenfranchise all Massachusetts voters.

       Under Article III of the United States Constitution, federal courts can resolve only

“cases” and “controversies.” U.S. Const. art. III § 2. The case-or-controversy requirement is

satisfied only where a plaintiff has standing to bring suit. See Spokeo, Inc. v. Robins, 136 S. Ct.



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        Plaintiff has abandoned his claim that Defendants should be held civilly liable for alleged
violations of federal criminal statutes, 52 U.S.C. §§ 20701-20702, because these laws do not
provide him with a private right of action. See Cok v. Cosentino, 876 F.2d 1, 2 (1st Cir. 1989)
(noting that criminal civil rights statutes “do not give rise to a civil action for damages”).


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1540, 1547 (2016). To establish standing, a plaintiff must show that: (1) he has suffered an

injury in fact that is “concrete and particularized” and “actual or imminent”; (2) the injury is

“fairly ... trace[able] to the challenged action of the defendant”; and (3) it is “likely, as opposed

to merely speculative, that the injury will be redressed by a favorable decision.” Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560-62 (1992) (internal quotation marks and citations

omitted). Here, even if Plaintiff can establish injury-in-fact and causation, he cannot clear the

hurdle of redressability.

       He specifically fails to establish that the alleged injury suffered by his supporters can be

redressed by a decision from this Court undoing the prior two elections. An order decertifying

the votes of approximately 3.6 million Massachusetts voters would not reverse the dilution of

Plaintiff’s supporters’ votes; it would instead disenfranchise all Massachusetts voters. As one

Court recently held, the alleged injury of vote dilution cannot be “remedied by denying millions

of others their right to vote.” King v. Whitmer, No. CV 20-13134, 2020 WL 7134198, at *9

(E.D. Mich. Dec. 7, 2020); Bowyer v. Ducey, No. CV-20-02321-PHX-DJH, 2020 WL 7238261,

at *6 (D. Ariz. Dec. 9, 2020) (“even if Plaintiffs could somehow establish that their vote dilution

claim was more than a generalized grievance to the point of asserting an injury, Plaintiffs have

not established that the Court can redress this grievance. To give Plaintiffs the relief they desire

would disenfranchise the nearly 3.4 million Arizonans that voted in the 2020 General Election.

Under Plaintiffs’ theory, this would transform all of the alleged diluted votes from being

“diluted” to being destroyed.”).2 The impossibility of Plaintiff’s proposed remedy is underscored



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  Nor would Plaintiff’s supposed harm be redressed by permitting a federally-ordered recount to
proceed before any election results were decertified. Leaving aside the fact that (1) Plaintiff’s
motion seeks to decertify election results before any recount would be ordered and (2) Plaintiff,
in any event, fails to demonstrate that he is entitled to such extraordinary relief, the alternative of
                                                                                 (footnote continued)


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by his failure to avail himself of less drastic tools under state law, including a recount or an

election contest. See Griffin, 570 F.2d at 1077 (Section 1983 claim for decertification of an

election only can exist where facts “go well beyond the ordinary dispute over the counting and

marking of ballots; and the question of the availability of a fully adequate state corrective

process is germane”). Plaintiff thus possesses no standing to pursue his equal protection claim.

       B.      Plaintiff’s Claim is Moot Because the Election Results Have Been Certified.

       Plaintiff seeks through his motion an injunction requiring that the United States Senate

election results be decertified. But this request is tardy, and Plaintiff’s claim is now moot. On

November 25, 2020, the Governor’s Council certified the results of this election, declaring that

Senator Edward J. Markey had won the state’s U.S. Senate election. Tassinari Aff., ¶ 13.

Further, on November 30, 2020, the Governor signed a Certificate of Election, attested to by the

Secretary, stating that Edward J. Markey was duly elected to the United States Senate. Id. That

certificate was transmitted to the President of the Senate on December 1, 2020, in accordance

with federal law and Senate Rules, and Senator Markey was sworn in without any objection in

the United States Senate. Id. Where, as here, Plaintiff fails to identify an ongoing dispute that

can be rectified by an injunction, his request for injunctive relief is moot and should be denied on

this basis. This Court’s jurisdiction under Article III extends only to “Cases” and

“Controversies.” U.S. Const. Art. III, § 2, cl. 1. A lawsuit becomes moot—and thus no longer a

case or controversy subject to federal court jurisdiction—when “the issues presented are no

longer ‘live’ or the parties lack a legally cognizable interest in the outcome.” Am. Civil Liberties

Union of Mass. v. U.S. Conference of Catholic Bishops, 705 F.3d 44, 52 (1st Cir. 2013)



counting all votes a second time beggars the point of what would potentially happen pursuant to
Plaintiff’s position after such a late-in-the-day recount: all votes would then be discarded. But as
Courts have held, vote dilution is not remedied by disenfranchising all voters. Id.

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(“ACLU”). “Another way of putting this is that a case is moot when the court cannot give any

‘effectual relief’ to the potentially prevailing party.” Id. To remain subject to federal court

jurisdiction, “a dispute ‘must be extant at all stages of review, not merely at the time the

complaint is filed.” United States v. Sanchez-Gomez, 138 S. Ct. 1532, 1537 (2018). “This

requirement ensures that the Federal Judiciary confines itself to its constitutionally limited role

of adjudicating actual and concrete disputes, the resolutions of which have direct consequences

on the parties involved.” Genesis HealthCare Corp. v. Symczyk, 569 U.S. 66, 71 (2013).

       Because the certification Plaintiff seeks to undo has already taken place, there is no

ongoing or current dispute to be enjoined by this Court. Other Courts have rejected similar post-

election, post-certification suits as moot for this very reason. See Bowyer, 2020 WL 7238261, at

*11 (D. Ariz. Dec. 9, 2020) (rejecting post-election, post-certification suit as moot because “the

Court cannot enjoin the transmission of the certified results because they have already been

transmitted”); King, 2020 WL 7134198, at *6 (E.D. Mich. Dec. 7, 2020) (rejecting attempt to

decertify election as moot); see also Wood v. Raffensperger, -- F.3d ---, 2020 WL 7094866, at *6

(11th Cir. Dec. 5, 2020) (“We cannot turn back the clock and create a world in which the 2020

election results are not certified….And it is not possible for us to delay certification nor

meaningful to order a new recount when the results are already final and certified.”) (internal

quotation marks and citations omitted). The result here should be no different.

       C.      The Eleventh Amendment Bars This Suit.

       Plaintiff is also unlikely to succeed on the merits of his suit because it is barred by the

Eleventh Amendment. The Eleventh Amendment provides that federal jurisdiction “shall not be

construed to extend to any suit in law or equity, commenced or prosecuted against one of the

United States by Citizens of another state.” U.S. Const. amend. XI. The Supreme Court has

held that “[t]he ultimate guarantee of the Eleventh Amendment is that non-consenting States may


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not be sued by private individuals in federal court.” Bd. of Trs. of Univ. of Ala. v. Garrett, 531

U.S. 356, 363 (2001); see also Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100

(1984) (“It is clear ... that in the absence of consent a suit in which the State or one of its

agencies or departments is named as the defendant is proscribed by the Eleventh Amendment....

[T]his jurisdictional bar applies regardless of the nature of the relief sought.”).

        This Eleventh Amendment proscription is subject to a narrow exception recognized more

than a century ago in Ex parte Young, 209 U.S. 123, 159–160 (1908). Federal courts can

prospectively enjoin state officials from continuing to violate the U.S. Constitution or other

federal law, “notwithstanding the absence of consent, waiver or evidence of congressional

assertion of national hegemony.” Rosie D. ex rel. John D. v. Swift, 310 F.3d 230, 234 (1st Cir.

2002) (citation omitted). But “the theory of Young has not been provided an expansive

interpretation.” Pennhurst, 465 U.S. at 102. In determining whether a suit falls within the

narrow exception carved out in Ex parte Young, it is “the substance, rather than … the form of

the relief sought” that matters. Papasan v. Allain, 478 U.S. 265, 278-79 (1986). The Ex parte

Young doctrine only allows federal courts to exercise jurisdiction over a suit in which the private

plaintiff alleges ongoing violations of federal law; suits that seek redress for past wrongs are still

barred by the Eleventh Amendment. See id. at 277–78 (noting that “Young has been focused on

cases in which a violation of federal law by a state official is ongoing as opposed to cases in

which federal law has been violated at one time or over a period of time in the past.”); Seminole

Tribe of Fla. v. Fla., 517 U.S. 44, 73 (1996) (stating that Ex parte Young permits suit against a

state official to go forward where it seeks “only prospective injunctive relief in order to “end a

continuing violation of federal law.”) (emphasis added). Thus, in “determining whether the

doctrine of Ex parte Young avoids an Eleventh Amendment bar to suit, a court need only




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conduct a straightforward inquiry into whether [the] complaint alleges an ongoing violation of

federal law and seeks relief properly characterized as prospective.’” Verizon Md., Inc. v. Pub.

Serv. Comm’n, 535 U.S. 635, 645 (2002) (citation omitted). And even where the requested

relief has only future impact on the state defendant, “[t]he pivotal question is whether the relief

‘serves directly to bring to an end a present violation of federal law.’” Whalen v. Mass. Trial

Court, 397 F.3d 19, 29 (1st Cir. 2005) (citation omitted).

         This Court lacks jurisdiction over Plaintiff’s injunctive claim because nowhere does he

identify an ongoing course of conduct that would continue to deprive him of federally protected

constitutional rights. See Hootstein v. Collins, 670 F. Supp. 2d 110, 114 (D. Mass. 2009) (“The

Ex parte Young doctrine, then, only allows federal courts to exercise jurisdiction over a suit in

which the plaintiff alleges ongoing violations of federal law; suits that seek redress of past

wrongs are still barred by the Eleventh Amendment.”). Again, federal Courts have rejected

nearly identical election-related claims on this basis. See King, 2020 WL 7134198, at *5

(concluding Eleventh Amendment barred election-related suit where the alleged harm already

occurred and thus there “is no continuing violation to enjoin”); Bowyer, 2020 WL 7238261, at

*9 (rejecting suit on Eleventh Amendment grounds where “[t]he relief requested—compelling

the Governor to decertify the election—similarly seeks to alter past conduct” and as such

“Plaintiffs have not identified an ongoing violation to enjoin.”).

       D.      The Doctrine of Laches Justifies Denial of the Requested Injunction.

       Plaintiff’s motion should be denied because of his unreasonable delay. Motions for

injunctive relief can be denied under the doctrine of laches. “Laches ... is an equitable doctrine

which penalizes a litigant for negligent or wilful failure to assert his rights...." Valmor Prods.

Co. v. Standard Prods. Corp., 464 F.2d 200, 204 (1st Cir. 1972). “Laches requires proof of (1)

lack of diligence by the party against whom the defense is asserted, and (2) prejudice to the party


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asserting the defense.” Museum of Fine Arts, Bos. v. Seger-Thomschitz, 623 F.3d 1, 10 n. 9 (1st

Cir. 2010) (quoting Costello v. United States, 365 U.S. 265, 282 (1961)).

       Plaintiff’s claim is premised on a situation that was known to him for months. Plaintiff

lost his primary election on September 1, 2020. He could have sought a recount under state law

or noticed an election contest under state law. He did neither. He opted to run as a write-in

candidate in the November 3, 2020 general election. He also lost that election. Again, he did not

seek a recount or notice an election contest. Instead, he waited for months while the

Commonwealth, in reliance on his decision not to challenge these election results, certified the

winners of these elections. Any alleged irregularities have long since been known. Plaintiff

exercised no diligence in pursuing these claims and should not be rewarded with a ruling that

would prejudice the voters who participated in a fair, safe, and secure election. As with similar

claims brought across the country, this motion should be denied under the doctrine of laches.

See King, 2020 WL 7134198, at *7 (rejecting election suit under doctrine of laches, noting that

“[w]hile Plaintiffs delayed, the ballots were cast; the votes were counted; and the results were

certified. The rationale for interposing the doctrine of laches is now at its peak.”); Bowyer, 2020

WL 7238261, at *11 (rejecting post-election suit to upset election results under doctrine of

laches); see also Benisek v. Lamone, 138 S. Ct. 1942, 1944 (2018) (“[A] party requesting a

preliminary injunction must generally show reasonable diligence. That is as true in election law

cases as elsewhere.”).

       E.      Plaintiff’s Claim of Vote Manipulation is Unsupported by Fact or Law.

       The extraordinary relief that Plaintiff seeks should not be granted for the additional

reason that his evidence-free allegations of voter fraud perpetrated by manipulation of electronic

ballot files is based upon fundamental misunderstandings and misrepresentations as to how votes

are cast, tabulated, and stored in Massachusetts. Simply put, Plaintiff is not entitled to


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preliminary relief because he is unlikely to succeed in proving the merits of his claim.

Massachusetts did not destroy ballots or otherwise engage in mathematical manipulation of vote

results, as Plaintiff hypothesizes without any proof. The primary and general elections were

safe, secure, and fair. All votes were counted and counted the same. This is fatal to a “one

person, one vote” claim under the Equal Protection Clause. See Lyman v. Baker, 954 F.3d 351,

371 (1st Cir. 2020) (dismissing “one person, one vote” claim relating to winter-take-all Electoral

College allocation because “Massachusetts counts the votes, according each vote equal weight,

and then awards its electors to the party whose candidate wins the highest number of votes.”).

Plaintiff lost his primary election and failed to win as a write-in candidate in the general election.

Having twice failed to avail himself of state law recount procedure, he cannot now achieve the

same result by making baseless allegations of vote-counting fraud in federal court.

       Every voter in Massachusetts marked a paper ballot and those ballots are the official vote

cast by that voter. Tassinari Aff., ¶ 4. Paper ballots are stored by municipalities for 22 months

following each federal election in accordance with federal law. Id. Municipalities in

Massachusetts tabulate the votes recorded on those paper ballots in one of two ways: by hand-

counting, or by use of an electronic tabulator. Tassinari Aff., ¶ 5. No ballot images are

generated, and no weighted calculation function is used. Tassinari Aff., ¶¶ 6, 8, 9. All properly-

cast votes are counted, and all votes have the same weight. Tassinari Aff., ¶ 6.

       The electronic tabulators used in Massachusetts meet stringent federal and state

certification standards. Tassinari Aff., ¶¶ 6, 9. In Massachusetts, even the certified tabulators

that are capable of creating ballot images – which is not every type of tabulator used in

Massachusetts – must have that function disabled. Tassinari Aff., ¶ 7. The Secretary’s Office

verified that any image scanning function was, in fact, disabled for both the September 1 primary




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and November 3 general election. Tassinari Aff., ¶ 8. Every type of approved tabulator was

subjected to testing and a demonstration of accuracy before it was approved for use in

Massachusetts. Tassinari Aff., ¶ 6. Every tabulator across the Commonwealth was publicly

tested to ensure that it calculated results consistent with a hand-count before both the September

1 primary and the November 3 general election. Tassinari Aff., ¶ 10. Plaintiff’s creative

reverse-engineering and hypothetical conclusions from his misdirected mathematical calculations

notwithstanding, there is no basis in fact for his contention that ballot images were created and

deleted, nor is there any basis in fact for his contention that the results were altered by

application of some weight multiplier, nor does he offer any explanation of why such

shenanigans would not have been laid bare in the extensive public testing process.3

       Plaintiff’s outlandish assertions are further belied by the results of the 2020 post-election

audit, in which general election ballots from 3% of Massachusetts precincts, selected at random,

were hand-counted. As required by law, the selected precincts hand counted their ballots for

offices of Electors for President and Vice President, Senator in Congress, Representative in

Congress, Senator in General Court, and Representative in General Court, as well as one of the

state-wide ballot questions. Tassinari Aff., ¶ 12. A post-election audit report was published

containing the results of the audit. See https://www.sec.state.ma.us/ele/elepostelection/2020-

Audit-Report-Narrative.pdf. Overall, the audit found that in 47 of the 66 audited precincts, there

was no change in the number of ballots cast; in the remaining precincts, the small disparities

found were attributed to tabulator jams and/or poll worker error. Tassinari Aff., ¶ 12. Relevant




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       To the extent Plaintiff speculates that election fraud must have occurred because his
campaign’s internal polling disagreed with the results of the primary election itself, this
contention is logically flawed. A campaign’s polling results based on samples of the electorate
do not equal votes cast by voters in an election. Only the latter counts.


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to Plaintiff’s claims, this year’s audit resulted in candidate Markey receiving an additional 81

votes, candidate O’Connor receiving 28 fewer votes, and Plaintiff receiving 88 additional votes.

Tassinari Aff., ¶ 12. The report noted that:

       The number of votes reported on Election Night as “All Others” was reduced by
       60 and the blank votes were reduced by 81. It is likely that write-in candidate
       SHIVA AYYADURAI gained additional votes during the audit that were on
       ballots not segregated by the tabulator because voters did not fill in the vote
       indicator next to the write-in space, and poll workers failed to categorize write-in
       votes for the candidate separately from “All Others.”

Tassinari Aff., ¶ 12. Notably, the audit results did not differ from the initial results in any

systemic or consistent basis that could be attributable to illegal tabulation methods such as the

use of weighted calculations. Tassinari Aff., ¶ 12. And Plaintiff offers no explanation for why

the mathematical engineering that he insists took place was not revealed by the audit.

       In a further effort to discredit the tabulation of election results from the primary, Plaintiff

alleges that he received information from seven cities and towns indicating that the number of

voters who participated in the election and the number of votes cast did not match. Am. Cplt., p.

21. Specifically, he asserts that in all seven cities and towns the number of tabulated votes was

larger than the number of participating voters. Id. This disparity, he asserts, is explained by vote

manipulation in the form of mathematical weighting. He offers no factual basis to support his

remarkable assertion that votes were altered in this manner, and none exists. Plaintiff’s contorted

mathematical computations ignore the simpler explanation for these numerical disparities: that at

the time he obtained the information, the relevant cities and towns had not completed the process

of updating the electronic records of who had voted based on the paper lists kept at polling

places, rendering the electronic records incomplete.4 Tassinari Aff., ¶¶ 14-16. And there are




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       Plaintiff did not seek certified copies of voting records or the paper lists.


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inevitably small disparities between these two numbers that are attributable to human error

and/or election officials failing to record which ballot is taken by unenrolled voters. Tassinari

Aff., ¶ 15. Wild, unsupported speculation as to multipliers that were applied cannot, without

more, excuse Plaintiff’s failure to pursue his state law remedy to seek a recount.

III.   PLAINTIFF MAKES NO SHOWING OF IRREPARABLE HARM.

       Plaintiff’s motion fails to demonstrate that he will be irreparably harmed if it is denied.

The election results have already been certified and have long been known. There is no need to

preserve the status quo, because the alleged harm that Plaintiff identifies – certification of the

election results – has already come to pass. Steir v. Girl Scouts of the USA, 383 F.3d 7, 16 (1st

Cir. 2004) (“Past exposure to illegal conduct does not in itself show a present case or controversy

regarding injunctive relief ... if unaccompanied by any continuing, present adverse effects.”).

       Plaintiff’s delay in seeking this relief – and his unexplained refusal to avail himself of the

recount mechanisms available to him under state law – undercut any allegation of irreparable

harm. See Voice of the Arab World, 645 F.3d at 36 (plaintiff’s “leisurely pace and lack of

urgency undercut a presumption of irreparable harm”); Akebia Therapeutics, Inc. v. Azar, 443 F.

Supp. 3d 219, 231 (D. Mass.), aff’d, 976 F.3d 86 (1st Cir. 2020) (“Preliminary injunctions are

generally granted under the theory that there is an urgent need for speedy action to protect the

plaintiffs’ rights. Delay in seeking enforcement of those rights, however, tends to indicate at least

a reduced need for such drastic, speedy action.”). In light of Plaintiff’s months-long delay in

bringing this suit, his claim of irreparable harm rings hollow.

IV.    AN INJUNCTION IS NOT IN THE PUBLIC INTEREST, AND THE EQUITIES
       DO NOT FAVOR PLAINTIFF.

       The extraordinary relief Plaintiff seeks threatens to disenfranchise 3.6 million

Massachusetts voters and strip the Commonwealth of half of its representation in the United



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States Senate while this case, a hand recount, and possibly two new elections played out. The

magnitude of this request cannot be oversold, yet Plaintiff’s late-in-the-day entreaty to decertify

the results of two elections is caused solely by his inexplicable delay in bringing this action and

his refusal to seek relief under the mechanisms afforded him by state law. On this basis alone,

his request should be denied. See Voice of the Arab World, 45 F.3d at 35 (citations omitted); see

also Hotze v. Hollins, 4:20-cv-03709, 2020 WL 6437668, at *3 (S.D. Tex. Nov. 2, 2020) (noting

that delay in seeking review of election-related issues is an equitable consideration for Court).

       State law provided Plaintiff with remedies if he felt there was an error in vote tabulation,

but the time for requesting such remedies has long since passed. First, Plaintiff could have

sought a recount after the September 1, 2020 primary election he lost or after the November 3,

2020 general election he also lost. See Mass. Gen. Laws ch. 54, § 135. For the September 1,

2020 primary, any recount had to be requested by September 4, 2020; for the general election,

any recount had to be requested by November 13, 2020. See 2019 Mass. Stat. ch. 142, § 88;

Mass. Gen. Laws ch. 54, § 135. Plaintiff did not avail himself of this recount option, in which he

could have requested ballots be counted by hand. Second, Plaintiff also could have contested the

primary election or the general election within 30 days pursuant to Mass. Gen. Laws ch. 54, §

134. Again, Plaintiff failed to file a timely election contest pursuant to this statute. Having

failed to avail himself of the remedies provided by state law, Plaintiff cannot now ask the Court

to absolve him of that failure and order relief that is far more dramatic, relief that would

disenfranchise millions of voters. Where Plaintiff failed to exercise his rights under state law to

request a prompt recount or to timely contest the results of the two elections, he cannot now do

so through a federal suit in equity. Plaintiff’s delay undercuts his claimed entitlement to

equitable relief, as “the law ministers to the vigilant[,] not to those who sleep upon perceptible




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rights.” K-Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 914 (1st Cir. 1989).

       Plaintiff’s request is also not in the public interest. Federal courts have frequently

recognized that state elections should generally be left to the states. “Election law, as it pertains

to state and local elections, is for the most part a preserve that lies within the exclusive

competence of the state courts.” Bonas v. Town of North Smithfield, 265 F.3d 69, 74 (1st Cir.

2001). Although the right to vote in a state election is in the final analysis bottomed on federal

law, Reynolds v. Sims, 377 U.S. 533 (1964), that right is “properly limited by respect for the

political and federal framework established by the Constitution. This framework [in the first

instance] leaves the conduct of state elections to the states.” Gamza v. Aguirre, 619 F.2d 449,

453 (5th Cir. 1980). As the First Circuit has recognized, federal courts should avoid meddling in

disputes over vote counting absent truly earthshaking circumstances.5 See Griffin, 570 F.2d at

1076-77. Federal courts are “not equipped nor empowered to supervise the administration of a

local election,” and because of this, “local election irregularities, including even claims of

official misconduct, do not usually rise to the level of constitutional violations where adequate

state corrective procedures,” like the ones Plaintiff failed to use here, “exist.” Id. at 1077.

       It is not appropriate for this Court to interfere with state election results, particularly

where Plaintiff failed to avail himself of the remedies provided by state law. The

Commonwealth conducted the general election relying on Plaintiff’s decision not to seek a




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         By way of example, the First Circuit explained that “Federal court intervention into the
state’s conduct of elections for reasons other than racial discrimination has tended, for the most
part, to be limited to striking down state laws or rules of general application which improperly
restrict or constrict the franchise.” Id. at 1076. Otherwise, courts should only intervene if “the
election process itself reaches the point of patent and fundamental unfairness,” but such “a
situation must go well beyond the ordinary dispute over the counting and marking of ballots; and
the question of the availability of a fully adequate state corrective process is germane.” Id. at
1077. No well-founded allegations remotely approaching this threshold are made in this case.


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recount. It certified the results of the election relying on Plaintiff’s second decision not to seek a

recount. As the state’s Supreme Judicial Court has recognized, “[d]eadlines are also a necessary

part of the election process, particularly the primary election, which must be completed in a

timely fashion to set the stage for the general election.” Grossman v. Sec’y of the

Commonwealth, 485 Mass. 541, 550 (2020). Plaintiff should not be rewarded for his delay.

       Plaintiff’s requested relief is also not in the interest of Massachusetts voters, who

participated in the election in record numbers despite a global pandemic. That Plaintiff seeks to

disenfranchise these voters just because he does not like the results of the election is gravely

disquieting and about as far from the public interest as imaginable. See King, 2020 WL

7134198, at *13 (injunction overturning election not in public interest where such a ruling would

“disenfranchise millions of Michigan voters in favor [of] the preferences of a handful of people

who [are] disappointed with the official results.”); Bowyer, 2020 WL 7238261, at *15

(injunction to overturn election results “would cause enormous harm to Arizonans, supplanting

the will of nearly 3.4 million voters reflected in the certified election results …. It would be more

difficult to envision a case in which the balance of hardships would tip more strongly against a

plaintiff.”). The public’s interest is hardly served by the relief envisioned by Plaintiff, which

would include cancelling the results of two elections, conducting a hand recount, and then

potentially having two more new elections. As one Court recently put it: “The People have

spoken.” King, 2020 WL 7134198, at *13. Their voice must be respected.

                                            CONCLUSION

       For the foregoing reasons, Defendant respectfully requests that the Court deny Plaintiff’s

motion for preliminary injunctive relief.




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                                   Respectfully submitted,

                                   Defendants,

                                   WILLIAM FRANCIS GALVIN, in his official
                                   capacity, and CHARLES D. BAKER, in his official
                                   capacity,

                                   By his attorneys,

                                   MAURA HEALEY
                                   ATTORNEY GENERAL

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Date: January 8, 2021




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                                  CERTIFICATE OF SERVICE

        I, Adam Hornstine, Assistant Attorney General, hereby certify that I have this day,
January 8, 2021, served the foregoing Memorandum, upon all parties, by electronically filing to
all ECF registered parties, and paper copies will be sent to those indicated as non-registered ECF
participants.

                                             /s/ Adam Hornstine
                                             Adam Hornstine




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